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                   Thomas-Jensen
                    Affirmation



                        Exhibit # 1
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                                                                                                    Executive Order 14154 of January 20, 2025

                                                                                                    Unleashing American Energy

                                                                                                    By the authority vested in me as President by the Constitution and the
                                                                                                    laws of the United States of America, it is hereby ordered:
                                                                                                    Section 1. Background. America is blessed with an abundance of energy
                                                                                                    and natural resources that have historically powered our Nation’s economic
                                                                                                    prosperity. In recent years, burdensome and ideologically motivated regula-
                                                                                                    tions have impeded the development of these resources, limited the genera-
                                                                                                    tion of reliable and affordable electricity, reduced job creation, and inflicted
                                                                                                    high energy costs upon our citizens. These high energy costs devastate
                                                                                                    American consumers by driving up the cost of transportation, heating, utili-
                                                                                                    ties, farming, and manufacturing, while weakening our national security.
                                                                                                    It is thus in the national interest to unleash America’s affordable and reliable
                                                                                                    energy and natural resources. This will restore American prosperity—includ-
                                                                                                    ing for those men and women who have been forgotten by our economy
                                                                                                    in recent years. It will also rebuild our Nation’s economic and military
                                                                                                    security, which will deliver peace through strength.
                                                                                                    Sec. 2. Policy. It is the policy of the United States:
                                                                                                      (a) to encourage energy exploration and production on Federal lands and
                                                                                                    waters, including on the Outer Continental Shelf, in order to meet the
                                                                                                    needs of our citizens and solidify the United States as a global energy
                                                                                                    leader long into the future;
                                                                                                      (b) to establish our position as the leading producer and processor of
                                                                                                    non-fuel minerals, including rare earth minerals, which will create jobs
                                                                                                    and prosperity at home, strengthen supply chains for the United States
                                                                                                    and its allies, and reduce the global influence of malign and adversarial
                                                                                                    states;
                                                                                                       (c) to protect the United States’s economic and national security and
                                                                                                    military preparedness by ensuring that an abundant supply of reliable energy
                                                                                                    is readily accessible in every State and territory of the Nation;
                                                                                                      (d) to ensure that all regulatory requirements related to energy are grounded
                                                                                                    in clearly applicable law;
                                                                                                      (e) to eliminate the ‘‘electric vehicle (EV) mandate’’ and promote true
                                                                                                    consumer choice, which is essential for economic growth and innovation,
                                                                                                    by removing regulatory barriers to motor vehicle access; by ensuring a level
                                                                                                    regulatory playing field for consumer choice in vehicles; by terminating,
                                                                                                    where appropriate, state emissions waivers that function to limit sales of
                                                                                                    gasoline-powered automobiles; and by considering the elimination of unfair
                                                                                                    subsidies and other ill-conceived government-imposed market distortions
                                                                                                    that favor EVs over other technologies and effectively mandate their purchase
                                                                                                    by individuals, private businesses, and government entities alike by rendering
                                                                                                    other types of vehicles unaffordable;
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                                                                                                      (f) to safeguard the American people’s freedom to choose from a variety
                                                                                                    of goods and appliances, including but not limited to lightbulbs, dishwashers,
                                                                                                    washing machines, gas stoves, water heaters, toilets, and shower heads,
                                                                                                    and to promote market competition and innovation within the manufacturing
                                                                                                    and appliance industries;
                                                                                                     (g) to ensure that the global effects of a rule, regulation, or action shall,
                                                                                                    whenever evaluated, be reported separately from its domestic costs and


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                                                                                                    benefits, in order to promote sound regulatory decision making and prioritize
                                                                                                    the interests of the American people;
                                                                                                      (h) to guarantee that all executive departments and agencies (agencies)
                                                                                                    provide opportunity for public comment and rigorous, peer-reviewed sci-
                                                                                                    entific analysis; and
                                                                                                       (i) to ensure that no Federal funding be employed in a manner contrary
                                                                                                    to the principles outlined in this section, unless required by law.
                                                                                                    Sec. 3. Immediate Review of All Agency Actions that Potentially Burden
                                                                                                    the Development of Domestic Energy Resources. (a) The heads of all agencies
                                                                                                    shall review all existing regulations, orders, guidance documents, policies,
                                                                                                    settlements, consent orders, and any other agency actions (collectively, agen-
                                                                                                    cy actions) to identify those agency actions that impose an undue burden
                                                                                                    on the identification, development, or use of domestic energy resources—
                                                                                                    with particular attention to oil, natural gas, coal, hydropower, biofuels,
                                                                                                    critical mineral, and nuclear energy resources—or that are otherwise incon-
                                                                                                    sistent with the policy set forth in section 2 of this order, including restric-
                                                                                                    tions on consumer choice of vehicles and appliances.
                                                                                                       (b) Within 30 days of the date of this order, the head of each agency
                                                                                                    shall, in consultation with the director of the Office of Management and
                                                                                                    Budget (OMB) and the National Economic Council (NEC), develop and begin
                                                                                                    implementing action plans to suspend, revise, or rescind all agency actions
                                                                                                    identified as unduly burdensome under subsection (a) of this section, as
                                                                                                    expeditiously as possible and consistent with applicable law. The head
                                                                                                    of any agency who determines that such agency does not have agency
                                                                                                    actions described in subsection (a) of this section shall submit to the Director
                                                                                                    of OMB a written statement to that effect and, absent a determination by
                                                                                                    the Director of OMB that such agency does have agency actions described
                                                                                                    in this subsection, shall have no further responsibilities under this section.
                                                                                                      (c) Agencies shall promptly notify the Attorney General of any steps
                                                                                                    taken pursuant to subsection (a) of this section so that the Attorney General
                                                                                                    may, as appropriate:
                                                                                                      (i) provide notice of this Executive Order and any such actions to any
                                                                                                      court with jurisdiction over pending litigation in which such actions may
                                                                                                      be relevant; and
                                                                                                      (ii) request that such court stay or otherwise delay further litigation, or
                                                                                                      seek other appropriate relief consistent with this order, pending the com-
                                                                                                      pletion of the administrative actions described in this order.
                                                                                                      (d) Pursuant to the policy outlined in section 2 of this order, the Attorney
                                                                                                    General shall consider whether pending litigation against illegal, dangerous,
                                                                                                    or harmful policies should be resolved through stays or other relief.
                                                                                                    Sec. 4. Revocation of and Revisions to Certain Presidential and Regulatory
                                                                                                    Actions. (a) The following are revoked and any offices established therein
                                                                                                    are abolished:
                                                                                                      (i) Executive Order 13990 of January 20, 2021 (Protecting Public Health
                                                                                                      and the Environment and Restoring Science to Tackle the Climate Crisis);
                                                                                                       (ii) Executive Order 13992 of January 20, 2021 (Revocation of Certain
                                                                                                       Executive Orders Concerning Federal Regulation);
                                                                                                       (iii) Executive Order 14008 of January 27, 2021 (Tackling the Climate
                                                                                                       Crisis at Home and Abroad);
                                                                                                       (iv) Executive Order 14007 of January 27, 2021 (President’s Council of
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                                                                                                       Advisors on Science and Technology);
                                                                                                       (v) Executive Order 14013 of February 4, 2021 (Rebuilding and Enhancing
                                                                                                       Programs to Resettle Refugees and Planning for the Impact of Climate
                                                                                                       Change on Migration);
                                                                                                       (vi) Executive Order 14027 of May 7, 2021 (Establishment of the Climate
                                                                                                       Change Support Office);


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                                                                                                       (vii) Executive Order 14030 of May 20, 2021 (Climate-Related Financial
                                                                                                       Risk);
                                                                                                       (viii) Executive Order 14037 of August 5, 2021 (Strengthening American
                                                                                                       Leadership in Clean Cars and Trucks);
                                                                                                       (ix) Executive Order 14057 of December 8, 2021 (Catalyzing Clean Energy
                                                                                                       Industries and Jobs Through Federal Sustainability);
                                                                                                       (x) Executive Order 14072 of April 22, 2022 (Strengthening the Nation’s
                                                                                                       Forests, Communities, and Local Economies);
                                                                                                       (xi) Executive Order 14082 of September 12, 2022 (Implementation of
                                                                                                       the Energy and Infrastructure Provisions of the Inflation Reduction Act
                                                                                                       of 2022); and
                                                                                                      (xii) Executive Order 14096 of April 21, 2023 (Revitalizing Our Nation’s
                                                                                                      Commitment to Environmental Justice for All).
                                                                                                      (b) All activities, programs, and operations associated with the American
                                                                                                    Climate Corps, including actions taken by any agency shall be terminated
                                                                                                    immediately. Within one day of the date of this order, the Secretary of
                                                                                                    the Interior shall submit a letter to all parties to the ‘‘American Climate
                                                                                                    Corps Memorandum of Understanding’’ dated December 2023 to terminate
                                                                                                    the memorandum, and the head of each party to the memorandum shall
                                                                                                    agree to the termination in writing.
                                                                                                      (c) Any assets, funds, or resources allocated to an entity or program
                                                                                                    abolished by subsection (a) of this section shall be redirected or disposed
                                                                                                    of in accordance with applicable law.
                                                                                                       (d) The head of any agency that has taken action respecting offices and
                                                                                                    programs in subsection (a) shall take all necessary steps to ensure that
                                                                                                    all such actions are terminated or, if necessary, appropriate, or required
                                                                                                    by law, that such activities are transitioned to other agencies or entities.
                                                                                                       (e) Any contract or agreement between the United States and any third
                                                                                                    party on behalf of the entities or programs abolished in subsection (a)
                                                                                                    of this section, or in furtherance of them, shall be terminated for convenience,
                                                                                                    or otherwise, as quickly as permissible under the law.
                                                                                                    Sec. 5. Unleashing Energy Dominance through Efficient Permitting. (a) Execu-
                                                                                                    tive Order 11991 of May 24, 1977 (Relating to protection and enhancement
                                                                                                    of environmental quality) is hereby revoked.
                                                                                                       (b) To expedite and simplify the permitting process, within 30 days of
                                                                                                    the date of this order, the Chairman of the Council on Environmental Quality
                                                                                                    (CEQ) shall provide guidance on implementing the National Environmental
                                                                                                    Policy Act (NEPA), 42 U.S.C. 4321 et seq., and propose rescinding CEQ’s
                                                                                                    NEPA regulations found at 40 CFR 1500 et seq.
                                                                                                      (c) Following the provision of the guidance, the Chairman of CEQ shall
                                                                                                    convene a working group to coordinate the revision of agency-level imple-
                                                                                                    menting regulations for consistency. The guidance in subsection (b) and
                                                                                                    any resulting implementing regulations must expedite permitting approvals
                                                                                                    and meet deadlines established in the Fiscal Responsibility Act of 2023
                                                                                                    (Public Law 118–5). Consistent with applicable law, all agencies must
                                                                                                    prioritize efficiency and certainty over any other objectives, including those
                                                                                                    of activist groups, that do not align with the policy goals set forth in
                                                                                                    section 2 of this order or that could otherwise add delays and ambiguity
                                                                                                    to the permitting process.
                                                                                                      (d) The Secretaries of Defense, Interior, Agriculture, Commerce, Housing
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                                                                                                    and Urban Development, Transportation, Energy, Homeland Security, the
                                                                                                    Administrator of the Environmental Protection Agency (EPA), the Chairman
                                                                                                    of CEQ, and the heads of any other relevant agencies shall undertake all
                                                                                                    available efforts to eliminate all delays within their respective permitting
                                                                                                    processes, including through, but not limited to, the use of general permitting
                                                                                                    and permit by rule. For any project an agency head deems essential for
                                                                                                    the Nation’s economy or national security, agencies shall use all possible


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                                                                                                    authorities, including emergency authorities, to expedite the adjudication
                                                                                                    of Federal permits. Agencies shall work closely with project sponsors to
                                                                                                    realize the ultimate construction or development of permitted projects.
                                                                                                      (e) The Director of the NEC and the Director of the Office of Legislative
                                                                                                    Affairs shall jointly prepare recommendations to Congress, which shall:
                                                                                                      (i) facilitate the permitting and construction of interstate energy transpor-
                                                                                                      tation and other critical energy infrastructure, including, but not limited
                                                                                                      to, pipelines, particularly in regions of the Nation that have lacked such
                                                                                                      development in recent years; and
                                                                                                       (ii) provide greater certainty in the Federal permitting process, including,
                                                                                                       but not limited to, streamlining the judicial review of the application
                                                                                                       of NEPA.
                                                                                                    Sec. 6. Prioritizing Accuracy in Environmental Analyses. (a) In all Federal
                                                                                                    permitting adjudications or regulatory processes, all agencies shall adhere
                                                                                                    to only the relevant legislated requirements for environmental considerations
                                                                                                    and any considerations beyond these requirements are eliminated. In ful-
                                                                                                    filling all such requirements, agencies shall strictly use the most robust
                                                                                                    methodologies of assessment at their disposal and shall not use methodolo-
                                                                                                    gies that are arbitrary or ideologically motivated.
                                                                                                       (b) The Interagency Working Group on the Social Cost of Greenhouse
                                                                                                    Gases (IWG), which was established pursuant to Executive Order 13990,
                                                                                                    is hereby disbanded, and any guidance, instruction, recommendation, or
                                                                                                    document issued by the IWG is withdrawn as no longer representative
                                                                                                    of governmental policy including:
                                                                                                       (i) the Presidential Memorandum of January 27, 2021 (Restoring Trust
                                                                                                       in Government Through Scientific Integrity and Evidence-Based Policy-
                                                                                                       making);
                                                                                                       (ii) the Report of the Greenhouse Gas Monitoring and Measurement Inter-
                                                                                                       agency Working Group of November 2023 (National Strategy to Advance
                                                                                                       an Integrated U.S. Greenhouse Gas Measurement, Monitoring, and Informa-
                                                                                                       tion System);
                                                                                                       (iii) the Technical Support Document of February 2021 (Social Cost of
                                                                                                       Carbon, Methane, and Nitrous Oxide Interim Estimates under Executive
                                                                                                       Order 13990); and
                                                                                                       (iv) estimates of the social cost of greenhouse gases, including the estimates
                                                                                                       for the social cost of carbon, the social cost of methane, or the social
                                                                                                       cost of nitrous oxide based, in whole or in part, on the IWG’s work
                                                                                                       or guidance.
                                                                                                       (c) The calculation of the ‘‘social cost of carbon’’ is marked by logical
                                                                                                    deficiencies, a poor basis in empirical science, politicization, and the absence
                                                                                                    of a foundation in legislation. Its abuse arbitrarily slows regulatory decisions
                                                                                                    and, by rendering the United States economy internationally uncompetitive,
                                                                                                    encourages a greater human impact on the environment by affording less
                                                                                                    efficient foreign energy producers a greater share of the global energy and
                                                                                                    natural resource market. Consequently, within 60 days of the date of this
                                                                                                    order, the Administrator of the EPA shall issue guidance to address these
                                                                                                    harmful and detrimental inadequacies, including consideration of eliminating
                                                                                                    the ‘‘social cost of carbon’’ calculation from any Federal permitting or regu-
                                                                                                    latory decision.
                                                                                                       (d) Prior to the guidance issued pursuant to subsection (c) of this section,
                                                                                                    agencies shall ensure estimates to assess the value of changes in greenhouse
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                                                                                                    gas emissions resulting from agency actions, including with respect to the
                                                                                                    consideration of domestic versus international effects and evaluating appro-
                                                                                                    priate discount rates, are, to the extent permitted by law, consistent with
                                                                                                    the guidance contained in OMB Circular A–4 of September 17, 2003 (Regu-
                                                                                                    latory Analysis).
                                                                                                       (e) Furthermore, the head of each agency shall, as appropriate and con-
                                                                                                    sistent with applicable law, initiate a process to make such changes to


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                                                                                                    any rule, regulation, policy or action as may be necessary to ensure consist-
                                                                                                    ency with the Regulatory Analysis.
                                                                                                      (f) Within 30 days of the date of this order, the Administrator of the
                                                                                                    EPA, in collaboration with the heads of any other relevant agencies, shall
                                                                                                    submit joint recommendations to the Director of OMB on the legality and
                                                                                                    continuing applicability of the Administrator’s findings, ‘‘Endangerment and
                                                                                                    Cause or Contribute Findings for Greenhouse Gases Under Section 202(a)
                                                                                                    of the Clean Air Act,’’ Final Rule, 74 FR 66496 (December 15, 2009).
                                                                                                    Sec. 7. Terminating the Green New Deal. (a) All agencies shall immediately
                                                                                                    pause the disbursement of funds appropriated through the Inflation Reduction
                                                                                                    Act of 2022 (Public Law 117–169) or the Infrastructure Investment and
                                                                                                    Jobs Act (Public Law 117–58), including but not limited to funds for electric
                                                                                                    vehicle charging stations made available through the National Electric Vehicle
                                                                                                    Infrastructure Formula Program and the Charging and Fueling Infrastructure
                                                                                                    Discretionary Grant Program, and shall review their processes, policies, and
                                                                                                    programs for issuing grants, loans, contracts, or any other financial disburse-
                                                                                                    ments of such appropriated funds for consistency with the law and the
                                                                                                    policy outlined in section 2 of this order. Within 90 days of the date
                                                                                                    of this order, all agency heads shall submit a report to the Director of
                                                                                                    the NEC and Director of OMB that details the findings of this review,
                                                                                                    including recommendations to enhance their alignment with the policy set
                                                                                                    forth in section 2. No funds identified in this subsection (a) shall be disbursed
                                                                                                    by a given agency until the Director of OMB and Assistant to the President
                                                                                                    for Economic Policy have determined that such disbursements are consistent
                                                                                                    with any review recommendations they have chosen to adopt.
                                                                                                      (b) When procuring goods and services, making decisions about leases,
                                                                                                    and making other arrangements that result in disbursements of Federal funds,
                                                                                                    agencies shall prioritize cost-effectiveness, American workers and businesses,
                                                                                                    and the sensible use of taxpayer money, to the greatest extent. The Director
                                                                                                    of OMB shall finalize and circulate guidelines to further implement this
                                                                                                    subsection.
                                                                                                      (c) All agencies shall assess whether enforcement discretion of authorities
                                                                                                    and regulations can be utilized to advance the policy outlined in section
                                                                                                    2 of this order. Within 30 days of the date of this order, each agency
                                                                                                    shall submit a report to the Director of OMB identifying any such instances.
                                                                                                    Sec. 8. Protecting America’s National Security. (a) The Secretary of Energy
                                                                                                    is directed restart reviews of applications for approvals of liquified natural
                                                                                                    gas export projects as expeditiously as possible, consistent with applicable
                                                                                                    law. In assessing the ‘‘Public Interest’’ to be advanced by any particular
                                                                                                    application, the Secretary of Energy shall consider the economic and employ-
                                                                                                    ment impacts to the United States and the impact to the security of allies
                                                                                                    and partners that would result from granting the application.
                                                                                                      (b) With respect to any proposed deepwater port for the export of liquefied
                                                                                                    natural gas (project) for which a favorable record of decision (ROD) has
                                                                                                    previously been issued pursuant to the Deepwater Port Act of 1974 (DWPA),
                                                                                                    33 U.S.C. 1501 et seq., the Administrator of the Maritime Administration
                                                                                                    (MARAD) shall, within 30 days of the date of this order and consistent
                                                                                                    with applicable law, determine whether any refinements to the project pro-
                                                                                                    posed subsequent to the ROD are likely to result in adverse environmental
                                                                                                    consequences that substantially differ from those associated with the origi-
                                                                                                    nally-evaluated project so as to present a seriously different picture of the
                                                                                                    foreseeable adverse environmental consequences (seriously different con-
                                                                                                    sequences). In making this determination, MARAD shall qualitatively assess
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                                                                                                    any difference in adverse environmental consequences between the project
                                                                                                    with and without the proposed refinements, including any potential con-
                                                                                                    sequences not addressed in the final Environmental Impact Statement (EIS),
                                                                                                    which shall be considered adequate under NEPA notwithstanding any revi-
                                                                                                    sions to NEPA that may have been enacted following the final EIS. MARAD
                                                                                                    shall submit this determination, together with a detailed justification, to
                                                                                                    the Secretary of Transportation and to the President.


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                                                                                                       (c) Pursuant to subsection (b) of this section, if MARAD determines that
                                                                                                    such refinements are not likely to result in seriously different consequences,
                                                                                                    it shall include in that determination a description of the refinements to
                                                                                                    supplement and update the ROD, if necessary and then no later than 30
                                                                                                    additional days, he shall issue a DWPA license.
                                                                                                       (d) If MARAD determines, with concurrence from the Secretary of Trans-
                                                                                                    portation, that such proposed refinements are likely to result in seriously
                                                                                                    different consequences, it shall, within 60 days after submitting such deter-
                                                                                                    mination, issue an Environmental Assessment (EA) examining such con-
                                                                                                    sequences and, with respect to all other environmental consequences not
                                                                                                    changed due to project refinements, shall reaffirm the conclusions of the
                                                                                                    final EIS. Within 30 days after issuing the EA, MARAD shall issue an
                                                                                                    addendum to the ROD, if necessary, and shall, within 30 additional days,
                                                                                                    issue a DWPA license consistent with the ROD.
                                                                                                    Sec. 9. Restoring America’s Mineral Dominance. (a) The Secretary of the
                                                                                                    Interior, Secretary of Agriculture, Administrator of the EPA, Chairman of
                                                                                                    CEQ, and the heads of any other relevant agencies, as appropriate, shall
                                                                                                    identify all agency actions that impose undue burdens on the domestic
                                                                                                    mining and processing of non-fuel minerals and undertake steps to revise
                                                                                                    or rescind such actions.
                                                                                                       (b) The Secretaries of the Interior and Agriculture shall reassess any public
                                                                                                    lands withdrawals for potential revision.
                                                                                                      (c) The Secretary of the Interior shall instruct the Director of the U.S.
                                                                                                    Geological Survey to consider updating the Survey’s list of critical minerals,
                                                                                                    including for the potential of including uranium.
                                                                                                      (d) The Secretary of the Interior shall prioritize efforts to accelerate the
                                                                                                    ongoing, detailed geologic mapping of the United States, with a focus on
                                                                                                    locating previously unknown deposits of critical minerals.
                                                                                                      (e) The Secretary of Energy shall ensure that critical mineral projects,
                                                                                                    including the processing of critical minerals, receive consideration for Federal
                                                                                                    support, contingent on the availability of appropriated funds.
                                                                                                      (f) The United States Trade Representative shall assess whether exploitative
                                                                                                    practices and state-assisted mineral projects abroad are unlawful or unduly
                                                                                                    burden or restrict United States commerce.
                                                                                                       (g) The Secretary of Commerce shall assess the national security implica-
                                                                                                    tions of the Nation’s mineral reliance and the potential for trade action.
                                                                                                      (h) The Secretary of Homeland Security shall assess the quantity and
                                                                                                    inflow of minerals that are likely the product of forced labor into the
                                                                                                    United States and whether such inflows pose a threat to national security
                                                                                                    and, within 90 days of the date of this order, shall provide this assessment
                                                                                                    to the Director of the NEC.
                                                                                                      (i) The Secretary of Defense shall consider the needs of the United States
                                                                                                    in supplying and maintaining the National Defense Stockpile, review the
                                                                                                    legal authorities and obligations in managing the National Defense Stockpile,
                                                                                                    and take all appropriate steps to ensure that the National Defense Stockpile
                                                                                                    will provide a robust supply of critical minerals in event of future shortfall.
                                                                                                      (j) Within 60 days of the date of this order, the Secretary of State, Secretary
                                                                                                    of Commerce, Secretary of Labor, the United States Trade Representative,
                                                                                                    and the heads of any other relevant agencies, shall submit a report to
                                                                                                    the Assistant to the President for Economic Policy that includes policy
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                                                                                                    recommendations to enhance the competitiveness of American mining and
                                                                                                    refining companies in other mineral-wealthy nations.
                                                                                                      (k) The Secretary of State shall consider opportunities to advance the
                                                                                                    mining and processing of minerals within the United States through the
                                                                                                    Quadrilateral Security Dialogue.
                                                                                                    Sec. 10. General Provisions. (a) Nothing in this order shall be construed
                                                                                                    to impair or otherwise affect:


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                                                                                                       (i) the authority granted by law to an executive department or agency,
                                                                                                       or the head thereof; or
                                                                                                      (ii) the functions of the Director of OMB relating to budgetary, administra-
                                                                                                      tive, or legislative proposals.
                                                                                                      (b) This order shall be implemented in a manner consistent with applicable
                                                                                                    law and subject to the availability of appropriations.
                                                                                                      (c) This order is not intended to, and does not, create any right or benefit,
                                                                                                    substantive or procedural, enforceable at law or in equity by any party
                                                                                                    against the United States, its departments, agencies, or entities, its officers,
                                                                                                    employees, or agents, or any other person.




                                                                                                    THE WHITE HOUSE,
                                                                                                    January 20, 2025.


                                                [FR Doc. 2025–01956
                                                Filed 1–28–25; 8:45 am]
                                                Billing code 3395–F4–P
khammond on DSK9W7S144PROD with PRESDOC8




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